                Case 10-60990-wlh                          Doc 1           Filed 01/12/10 Entered 01/12/10 18:09:05                                                 Desc Main         1/12/10 6:05PM
                                                                           Document Page 1 of 55
B1 (Official Form 1)(1/08)
                                              United States Bankruptcy Court
                                                     Northern District of Georgia                                                                             Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                            Name of Joint Debtor (Spouse) (Last, First, Middle):
  Wilbanks, Bobby Manalcus                                                                                Wilbanks, Kimberly Ann


All Other Names used by the Debtor in the last 8 years                                                 All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                            (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                      Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                          (if more than one, state all)
  xxx-xx-4745                                                                                             xxx-xx-0417
Street Address of Debtor (No. and Street, City, and State):                                            Street Address of Joint Debtor (No. and Street, City, and State):
  943 Lake Stone Lea Drive                                                                                943 Lake Stone Lea Drive
  Oxford, GA                                                                                              Oxford, GA
                                                                                      ZIP Code                                                                                      ZIP Code
                                                                                    30054                                                                                        30054
County of Residence or of the Principal Place of Business:                                             County of Residence or of the Principal Place of Business:
  Newton                                                                                                  Newton
Mailing Address of Debtor (if different from street address):                                          Mailing Address of Joint Debtor (if different from street address):


                                                                                      ZIP Code                                                                                      ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                   Type of Debtor                                      Nature of Business                                         Chapter of Bankruptcy Code Under Which
                (Form of Organization)                                    (Check one box)                                            the Petition is Filed (Check one box)
                   (Check one box)                             Health Care Business                                  Chapter 7
                                                               Single Asset Real Estate as defined                   Chapter 9                        Chapter 15 Petition for Recognition
    Individual (includes Joint Debtors)                        in 11 U.S.C. § 101 (51B)                                                               of a Foreign Main Proceeding
    See Exhibit D on page 2 of this form.                                                                            Chapter 11
                                                               Railroad
                                                                                                                     Chapter 12                       Chapter 15 Petition for Recognition
    Corporation (includes LLC and LLP)                         Stockbroker
                                                                                                                     Chapter 13                       of a Foreign Nonmain Proceeding
                                                               Commodity Broker
    Partnership
                                                               Clearing Bank
    Other (If debtor is not one of the above entities,         Other                                                                             Nature of Debts
    check this box and state type of entity below.)                                                                                               (Check one box)
                                                                       Tax-Exempt Entity
                                                                      (Check box, if applicable)                     Debts are primarily consumer debts,                 Debts are primarily
                                                               Debtor is a tax-exempt organization                   defined in 11 U.S.C. § 101(8) as                    business debts.
                                                               under Title 26 of the United States                   "incurred by an individual primarily for
                                                               Code (the Internal Revenue Code).                     a personal, family, or household purpose."

                                 Filing Fee (Check one box)                                            Check one box:                   Chapter 11 Debtors
    Full Filing Fee attached                                                                                  Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                              Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (applicable to individuals only). Must                       Check if:
    attach signed application for the court's consideration certifying that the debtor
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                          Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
                                                                                                              to insiders or affiliates) are less than $2,190,000.
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                       Check all applicable boxes:
    attach signed application for the court's consideration. See Official Form 3B.                            A plan is being filed with this petition.
                                                                                                              Acceptances of the plan were solicited prepetition from one or more
                                                                                                              classes of creditors, in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                             THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

    1-            50-           100-          200-       1,000-        5,001-        10,001-       25,001-      50,001-        OVER
    49            99            199           999        5,000        10,000         25,000        50,000       100,000       100,000
Estimated Assets

    $0 to         $50,001 to    $100,001 to   $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000      to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                              million    million      million        million       million
Estimated Liabilities

    $0 to         $50,001 to    $100,001 to   $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000      to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                              million    million      million        million       million
              Case 10-60990-wlh                    Doc 1         Filed 01/12/10 Entered 01/12/10 18:09:05                                         Desc Main            1/12/10 6:05PM
                                                                 Document Page 2 of 55
B1 (Official Form 1)(1/08)                                                                                                                                                  Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Wilbanks, Bobby Manalcus
(This page must be completed and filed in every case)                                   Wilbanks, Kimberly Ann
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                       Exhibit A                                                                                Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X     /s/ Karen Scott Greene                              January 12, 2010
                                                                                            Signature of Attorney for Debtor(s)                     (Date)
                                                                                              Karen Scott Greene 632153

                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
              Case 10-60990-wlh                      Doc 1         Filed 01/12/10 Entered 01/12/10 18:09:05                                      Desc Main          1/12/10 6:05PM
                                                                   Document Page 3 of 55
B1 (Official Form 1)(1/08)                                                                                                                                              Page 3
                                                                                         Name of Debtor(s):
Voluntary Petition                                                                          Wilbanks, Bobby Manalcus
(This page must be completed and filed in every case)                                       Wilbanks, Kimberly Ann
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                          Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                         is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and          proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                           (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Bobby Manalcus Wilbanks                                                          X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Bobby Manalcus Wilbanks

 X    /s/ Kimberly Ann Wilbanks                                                                Printed Name of Foreign Representative
     Signature of Joint Debtor Kimberly Ann Wilbanks
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     January 12, 2010
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Karen Scott Greene
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Karen Scott Greene 632153                                                                debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Karen Scott Greene, P.C.
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      PO Box 390322
      Snellville, GA 30039                                                                     Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                      Email: karen@attykarengreene.com
      770-761-4704 Fax: 678-530-1059
     Telephone Number
     January 12, 2010
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of Bankruptcy Petition Preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

     Date
             Case 10-60990-wlh                          Doc 1           Filed 01/12/10 Entered 01/12/10 18:09:05        Desc Main
                                                                                                                              1/12/10 6:05PM

                                                                        Document Page 4 of 55


B 1D (Official Form 1, Exhibit D) (12/09)
                                                                  United States Bankruptcy Court
                                                                          Northern District of Georgia
             Bobby Manalcus Wilbanks
  In re      Kimberly Ann Wilbanks                                                                       Case No.
                                                                                       Debtor(s)         Chapter    7




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT

        Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have a
certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy of
any debt repayment plan developed through the agency.

          2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do not
have a certificate from the agency describing the services provided to me. You must file a copy of a certificate
from the agency describing the services provided to you and a copy of any debt repayment plan developed
through the agency no later than 14 days after your bankruptcy case is filed.

          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]

       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.

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               Case 10-60990-wlh                              Doc 1              Filed 01/12/10 Entered 01/12/10 18:09:05   Desc Main
                                                                                                                                  1/12/10 6:05PM

                                                                                 Document Page 5 of 55


B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                             Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental
       deficiency so as to be incapable of realizing and making rational decisions with respect to financial
       responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.

         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.

              I certify under penalty of perjury that the information provided above is true and correct.

                                                           Signature of Debtor:            /s/ Bobby Manalcus Wilbanks
                                                                                           Bobby Manalcus Wilbanks
                                                           Date:           January 12, 2010




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Case 10-60990-wlh   Doc 1   Filed 01/12/10 Entered 01/12/10 18:09:05   Desc Main
                            Document Page 6 of 55
             Case 10-60990-wlh                          Doc 1           Filed 01/12/10 Entered 01/12/10 18:09:05        Desc Main
                                                                                                                              1/12/10 6:05PM

                                                                        Document Page 7 of 55


B 1D (Official Form 1, Exhibit D) (12/09)
                                                                  United States Bankruptcy Court
                                                                          Northern District of Georgia
             Bobby Manalcus Wilbanks
  In re      Kimberly Ann Wilbanks                                                                       Case No.
                                                                                       Debtor(s)         Chapter    7




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT

        Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have a
certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy of
any debt repayment plan developed through the agency.

          2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do not
have a certificate from the agency describing the services provided to me. You must file a copy of a certificate
from the agency describing the services provided to you and a copy of any debt repayment plan developed
through the agency no later than 14 days after your bankruptcy case is filed.

          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]

       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.

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               Case 10-60990-wlh                              Doc 1              Filed 01/12/10 Entered 01/12/10 18:09:05   Desc Main
                                                                                                                                  1/12/10 6:05PM

                                                                                 Document Page 8 of 55


B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                             Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental
       deficiency so as to be incapable of realizing and making rational decisions with respect to financial
       responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.

         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.

              I certify under penalty of perjury that the information provided above is true and correct.

                                                           Signature of Debtor:           /s/ Kimberly Ann Wilbanks
                                                                                          Kimberly Ann Wilbanks
                                                           Date:           January 12, 2010




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Case 10-60990-wlh   Doc 1   Filed 01/12/10 Entered 01/12/10 18:09:05   Desc Main
                            Document Page 9 of 55
              Case 10-60990-wlh                          Doc 1          Filed 01/12/10 Entered 01/12/10 18:09:05                  Desc Main
                                                                                                                                        1/12/10 6:05PM

                                                                        Document Page 10 of 55
B7 (Official Form 7) (12/07)



                                                                   United States Bankruptcy Court
                                                                           Northern District of Georgia
             Bobby Manalcus Wilbanks
  In re      Kimberly Ann Wilbanks                                                                            Case No.
                                                                                              Debtor(s)       Chapter       7


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See,
11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the
answer to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the
question.


                                                                                             DEFINITIONS

           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is
"in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any
of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be
"in business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement
income from the debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor.
11 U.S.C. § 101.

                                                                __________________________________________

                1. Income from employment or operation of business
    None        State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
                business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
                year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
                calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
                report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income
                for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a
                joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                    SOURCE
                           $72,954.17                                2009 YTD: Husband Employment Income
                           $73,411.48                                2008: Husband Employment Income
                           $83,308.00                                2007: Husband Employment Income




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              Case 10-60990-wlh                          Doc 1          Filed 01/12/10 Entered 01/12/10 18:09:05                Desc Main
                                                                                                                                      1/12/10 6:05PM

                                                                        Document Page 11 of 55

                                                                                                                                                             2

                2. Income other than from employment or operation of business
    None        State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
                during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income
                for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a
                joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                    SOURCE

                3. Payments to creditors
    None        Complete a. or b., as appropriate, and c.

                a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or
                services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
                aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that
                were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an
                approved nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include
                payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                filed.)

 NAME AND ADDRESS                                                                  DATES OF                                           AMOUNT STILL
     OF CREDITOR                                                                   PAYMENTS                    AMOUNT PAID               OWING
 Wells Fargo Hm Mortgag                                                            8/18, 9/18, 1018              $8,352.00            $506,874.00
 7495 New Horizon Way
 Frederick, MD 21703
 Georgias Own Credit Union                                                         8/4, 9/4, 10/4                   $921.00             $12,000.00


    None        b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
                immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
                transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
                account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
                budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or
                both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                  AMOUNT
                                                                                   DATES OF                        PAID OR
                                                                                   PAYMENTS/                     VALUE OF             AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS                    TRANSFERS                OWING

    None        c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit
                of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
                spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                     AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                       DATE OF PAYMENT             AMOUNT PAID               OWING

                4. Suits and administrative proceedings, executions, garnishments and attachments
    None        a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing
                of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
                spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                             COURT OR AGENCY       STATUS OR
 AND CASE NUMBER                                 NATURE OF PROCEEDING                        AND LOCATION          DISPOSITION

    None        b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
                preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                filed.)




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              Case 10-60990-wlh                          Doc 1          Filed 01/12/10 Entered 01/12/10 18:09:05                  Desc Main
                                                                                                                                        1/12/10 6:05PM

                                                                        Document Page 12 of 55

                                                                                                                                                              3


 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                 DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                 DATE OF SEIZURE              PROPERTY

                5. Repossessions, foreclosures and returns
    None        List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
                returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter
                12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
                the spouses are separated and a joint petition is not filed.)

                                                                           DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                         FORECLOSURE SALE,          DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                        TRANSFER OR RETURN                  PROPERTY

                6. Assignments and receiverships
    None        a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
                this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not
                a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None        b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
                preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                         DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                   ORDER               PROPERTY

                7. Gifts
    None        List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
                and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
                aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
                either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                      DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                      DATE OF GIFT     VALUE OF GIFT

                8. Losses
    None        List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
                since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
                spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS         DATE OF LOSS




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              Case 10-60990-wlh                          Doc 1          Filed 01/12/10 Entered 01/12/10 18:09:05                  Desc Main
                                                                                                                                        1/12/10 6:05PM

                                                                        Document Page 13 of 55

                                                                                                                                                              4

                9. Payments related to debt counseling or bankruptcy
    None        List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
                concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year
                immediately preceding the commencement of this case.

                                                                                     DATE OF PAYMENT,                      AMOUNT OF MONEY
 NAME AND ADDRESS                                                                 NAME OF PAYOR IF OTHER               OR DESCRIPTION AND VALUE
     OF PAYEE                                                                           THAN DEBTOR                           OF PROPERTY
 Karen Scott Greene, P.C.                                                         1/7/2010                            $1,051.00
 PO Box 390322
 Snellville, GA 30039

                10. Other transfers
    None        a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
                transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
                filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
                spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                     DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                     DATE                        AND VALUE RECEIVED

    None        b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
                trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                              AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                         DATE(S) OF           VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                TRANSFER(S)          IN PROPERTY

                11. Closed financial accounts
    None        List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
                otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
                financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
                cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13
                must include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is
                filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                   TYPE OF ACCOUNT, LAST FOUR
                                                                                    DIGITS OF ACCOUNT NUMBER,           AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                    OR CLOSING
 Wachovia Bank                                                                    Checking account                      $3.08 July 2009

 BB&T                                                                             Savings Account                       4/09 $10.00
 PO Bx 580435
 Charlotte, NC 28258-0435

                12. Safe deposit boxes
    None        List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
                immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
                depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                    DESCRIPTION              DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                    OF CONTENTS               SURRENDER, IF ANY




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              Case 10-60990-wlh                          Doc 1          Filed 01/12/10 Entered 01/12/10 18:09:05                Desc Main
                                                                                                                                      1/12/10 6:05PM

                                                                        Document Page 14 of 55

                                                                                                                                                            5

                13. Setoffs
    None        List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
                commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
                spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                     DATE OF SETOFF                      AMOUNT OF SETOFF

                14. Property held for another person
    None        List all property owned by another person that the debtor holds or controls.


 NAME AND ADDRESS OF OWNER                                    DESCRIPTION AND VALUE OF PROPERTY          LOCATION OF PROPERTY

                15. Prior address of debtor
    None        If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
                occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
                address of either spouse.

 ADDRESS                                                                          NAME USED                           DATES OF OCCUPANCY

                16. Spouses and Former Spouses
    None        If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California,
                Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding
                the commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the
                debtor in the community property state.

 NAME

                17. Environmental Information.

                For the purpose of this question, the following definitions apply:

                "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
                or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited
                to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None        a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be
                liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and,
                if known, the Environmental Law:

                                                              NAME AND ADDRESS OF                  DATE OF                   ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                    NOTICE                    LAW

    None        b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
                Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                  DATE OF                   ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                    NOTICE                    LAW

    None        c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
                the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
                docket number.



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              Case 10-60990-wlh                          Doc 1          Filed 01/12/10 Entered 01/12/10 18:09:05                  Desc Main
                                                                                                                                        1/12/10 6:05PM

                                                                        Document Page 15 of 55

                                                                                                                                                              6


 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                                DOCKET NUMBER                         STATUS OR DISPOSITION

                18 . Nature, location and name of business
    None        a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning
                and ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation,
                partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within
                six years immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or
                equity securities within six years immediately preceding the commencement of this case.

                If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
                ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within
                six years immediately preceding the commencement of this case.

                If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
                ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within
                six years immediately preceding the commencement of this case.

                                     LAST FOUR DIGITS OF
                                     SOCIAL-SECURITY OR
                                     OTHER INDIVIDUAL
                                     TAXPAYER-I.D. NO.                                                                            BEGINNING AND
 NAME                                (ITIN)/ COMPLETE EIN                  ADDRESS                  NATURE OF BUSINESS            ENDING DATES

    None        b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                           ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

                19. Books, records and financial statements
    None        a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
                supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED

    None        b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the
                books of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                             DATES SERVICES RENDERED

    None        c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and
                records of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                         ADDRESS

    None        d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement
                was issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                  DATE ISSUED



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              Case 10-60990-wlh                          Doc 1          Filed 01/12/10 Entered 01/12/10 18:09:05                    Desc Main
                                                                                                                                          1/12/10 6:05PM

                                                                        Document Page 16 of 55

                                                                                                                                                               7

                20. Inventories
    None        a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
                and the dollar amount and basis of each inventory.

                                                                                                                DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

    None        b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS

                21 . Current Partners, Officers, Directors and Shareholders
    None        a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                               NATURE OF INTEREST                        PERCENTAGE OF INTEREST

    None        b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
                controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                           OF STOCK OWNERSHIP

                22 . Former partners, officers, directors and shareholders
    None        a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
                commencement of this case.

 NAME                                                              ADDRESS                                               DATE OF WITHDRAWAL

    None        b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
                immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                           DATE OF TERMINATION

                23 . Withdrawals from a partnership or distributions by a corporation
    None        If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including
                compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately
                preceding the commencement of this case.

 NAME & ADDRESS                                                                                                           AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                          OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                             VALUE OF PROPERTY

                24. Tax Consolidation Group.
    None        If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
                group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
                of the case.

 NAME OF PARENT CORPORATION                                                                                  TAXPAYER IDENTIFICATION NUMBER (EIN)

                25. Pension Funds.
    None        If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as
                an employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                        TAXPAYER IDENTIFICATION NUMBER (EIN)


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              Case 10-60990-wlh                          Doc 1          Filed 01/12/10 Entered 01/12/10 18:09:05                           Desc Main
                                                                                                                                                 1/12/10 6:05PM

                                                                        Document Page 17 of 55

                                                                                                                                                                        8


                                 DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date January 12, 2010                                                          Signature    /s/ Bobby Manalcus Wilbanks
                                                                                             Bobby Manalcus Wilbanks
                                                                                             Debtor


 Date January 12, 2010                                                          Signature    /s/ Kimberly Ann Wilbanks
                                                                                             Kimberly Ann Wilbanks
                                                                                             Joint Debtor

                     Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                 Case 10-60990-wlh                          Doc 1           Filed 01/12/10 Entered 01/12/10 18:09:05                   Desc Main        1/12/10 6:05PM
                                                                            Document Page 18 of 55
B6A (Official Form 6A) (12/07)


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  In re          Bobby Manalcus Wilbanks,                                                                            Case No.
                 Kimberly Ann Wilbanks
                                                                                                         ,
                                                                                           Debtors
                                                                 SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                         Husband,    Current Value of
                                                                                 Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                 Description and Location of Property                            Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                        Community Deducting  any Secured
                                                                                                                    Claim or Exemption

943 Lake Stone Lea Drive                                                         Joint tenant                J                  500,000.00               505,834.00
Oxford, Ga
5000 sq ft single family residence




                                                                                                         Sub-Total >            500,000.00       (Total of this page)

                                                                                                                 Total >        500,000.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                         (Report also on Summary of Schedules)
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                 Case 10-60990-wlh                          Doc 1           Filed 01/12/10 Entered 01/12/10 18:09:05                        Desc Main        1/12/10 6:05PM
                                                                            Document Page 19 of 55
B6B (Official Form 6B) (12/07)


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  In re          Bobby Manalcus Wilbanks,                                                                               Case No.
                 Kimberly Ann Wilbanks
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

1.     Cash on hand                                          X

2.     Checking, savings or other financial                  X
       accounts, certificates of deposit, or
       shares in banks, savings and loan,
       thrift, building and loan, and
       homestead associations, or credit
       unions, brokerage houses, or
       cooperatives.

3.     Security deposits with public                         X
       utilities, telephone companies,
       landlords, and others.

4.     Household goods and furnishings,                          4 televisions, furniture: living room and 3                       J                        5,200.00
       including audio, video, and                               bedrooms, kitchen, dining
       computer equipment.                                       Location: 943 Lake Stone Lea Drive, Oxford GA

5.     Books, pictures and other art                             500 cds, pictures and books                                       J                           500.00
       objects, antiques, stamp, coin,                           Location: 943 Lake Stone Lea Drive, Oxford GA
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing apparel.                                          Clothing for the family                                           J                        1,000.00

7.     Furs and jewelry.                                     X

8.     Firearms and sports, photographic,                    X
       and other hobby equipment.

9.     Interests in insurance policies.                      X
       Name insurance company of each
       policy and itemize surrender or
       refund value of each.

10. Annuities. Itemize and name each                         X
    issuer.




                                                                                                                                   Sub-Total >            6,700.00
                                                                                                                       (Total of this page)

  2     continuation sheets attached to the Schedule of Personal Property

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                 Case 10-60990-wlh                          Doc 1           Filed 01/12/10 Entered 01/12/10 18:09:05                        Desc Main        1/12/10 6:05PM
                                                                            Document Page 20 of 55
B6B (Official Form 6B) (12/07) - Cont.




  In re          Bobby Manalcus Wilbanks,                                                                               Case No.
                 Kimberly Ann Wilbanks
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                         X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                       X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                      X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                       X
    ventures. Itemize.

15. Government and corporate bonds                           X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                     X

17. Alimony, maintenance, support, and                       X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor                        2008 Tax Refund                                                   J                      11,618.00
    including tax refunds. Give particulars.


19. Equitable or future interests, life                      X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                             X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                        X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                                   Sub-Total >          11,618.00
                                                                                                                       (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

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                 Case 10-60990-wlh                          Doc 1           Filed 01/12/10 Entered 01/12/10 18:09:05                        Desc Main        1/12/10 6:05PM
                                                                            Document Page 21 of 55
B6B (Official Form 6B) (12/07) - Cont.




  In re          Bobby Manalcus Wilbanks,                                                                               Case No.
                 Kimberly Ann Wilbanks
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

22. Patents, copyrights, and other                           X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                          X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                     X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                           2002 Sandpiper 38 foot pull-behind travel trailer                  J                     17,835.00
    other vehicles and accessories.
                                                                 2005 Ford Expedition XLJ                                           J                       9,225.00
                                                                 Mileage: 83000 miles in good condition with dents
                                                                 on the right side

26. Boats, motors, and accessories.                          X

27. Aircraft and accessories.                                X

28. Office equipment, furnishings, and                       X
    supplies.

29. Machinery, fixtures, equipment, and                      X
    supplies used in business.

30. Inventory.                                               X

31. Animals.                                                 X

32. Crops - growing or harvested. Give                       X
    particulars.

33. Farming equipment and                                    X
    implements.

34. Farm supplies, chemicals, and feed.                      X

35. Other personal property of any kind                      X
    not already listed. Itemize.




                                                                                                                                   Sub-Total >          27,060.00
                                                                                                                       (Total of this page)
                                                                                                                                        Total >         45,378.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                               (Report also on Summary of Schedules)
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                  Case 10-60990-wlh                          Doc 1           Filed 01/12/10 Entered 01/12/10 18:09:05                       Desc Main        1/12/10 6:05PM
                                                                             Document Page 22 of 55
 B6C (Official Form 6C) (12/07)


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   In re          Bobby Manalcus Wilbanks,                                                                              Case No.
                  Kimberly Ann Wilbanks
                                                                                                               ,
                                                                                              Debtors
                                              SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                        Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                        $136,875.
    11 U.S.C. §522(b)(2)
    11 U.S.C. §522(b)(3)

                                                                                      Specify Law Providing                   Value of           Current Value of
                    Description of Property                                              Each Exemption                       Claimed            Property Without
                                                                                                                             Exemption         Deducting Exemption
Household Goods and Furnishings
4 televisions, furniture: living room and 3                                      Ga. Code Ann. § 44-13-100(a)(4)                   5,200.00                  5,200.00
bedrooms, kitchen, dining
Location: 943 Lake Stone Lea Drive, Oxford GA

Books, Pictures and Other Art Objects; Collectibles
500 cds, pictures and books                         Ga. Code Ann. § 44-13-100(a)(6)                                                  500.00                     500.00
Location: 943 Lake Stone Lea Drive, Oxford GA

Wearing Apparel
Clothing for the family                                                          Ga. Code Ann. § 44-13-100(a)(6)                   1,000.00                  1,000.00

Other Liquidated Debts Owing Debtor Including Tax Refund
2008 Tax Refund                                  Ga. Code Ann. § 44-13-100(a)(6)                                                   7,475.00                11,618.00

Automobiles, Trucks, Trailers, and Other Vehicles
2005 Ford Expedition XLJ                                                         Ga. Code Ann. § 44-13-100(a)(3)                   7,000.00                  9,225.00
Mileage: 83000 miles in good condition with                                      Ga. Code Ann. § 44-13-100(a)(6)                   2,225.00
dents on the right side




                                                                                                               Total:             23,400.00                 27,543.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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                  Case 10-60990-wlh                          Doc 1           Filed 01/12/10 Entered 01/12/10 18:09:05                               Desc Main       1/12/10 6:05PM
                                                                             Document Page 23 of 55
 B6D (Official Form 6D) (12/07)


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   In re          Bobby Manalcus Wilbanks,                                                                                         Case No.
                  Kimberly Ann Wilbanks
                                                                                                                      ,
                                                                                                     Debtors
                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
              CREDITOR'S NAME                                   O                                                              O    N   I
                                                                D   H        DATE CLAIM WAS INCURRED,                          N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                              T    I   P       WITHOUT        UNSECURED
            INCLUDING ZIP CODE,                                 B   W           NATURE OF LIEN, AND                            I    Q   U                      PORTION, IF
                                                                T   J         DESCRIPTION AND VALUE                            N    U   T
                                                                                                                                               DEDUCTING
           AND ACCOUNT NUMBER                                   O                                                              G    I   E       VALUE OF          ANY
             (See instructions above.)
                                                                    C                OF PROPERTY
                                                                R
                                                                                  SUBJECT TO LIEN
                                                                                                                               E    D   D     COLLATERAL
                                                                                                                               N    A
                                                                                                                               T    T
Account No. xxxxxxxx9001                                                Opened 1/01/09 Last Active 8/16/09                          E
                                                                                                                                    D

Georgias Own Cu                                                         Purchase Money
1155 Peachtree St Ne Ste
Atlanta, GA 30309                                                     2002 Sandpiper 38 foot pull-behind
                                                                    H travel trailer

                                                                         Value $                               17,835.00                         15,012.00                   0.00
Account No. xxxxxxxx6001                                                Opened 9/01/09 Last Active 9/30/09

Georgias Own Cu                                                         Purchase Money
1155 Peachtree St Ne Ste
                                                                      2005 Ford Expedition XLJ
Atlanta, GA 30309
                                                                    J Mileage: 83000 miles in good condition
                                                                      with dents on the right side
                                                                         Value $                                9,225.00                         14,000.00             4,775.00
Account No. xxxxxxxxxxx3864                                             Opened 3/01/08 Last Active 9/23/09

Wffinancial                                                             Mortgage
7201 Turner Lake Rd Nw
                                                                      943 Lake Stone Lea Drive
Covington, GA 30014
                                                                    J Oxford, Ga
                                                                      5000 sq ft single family residence
                                                                         Value $                           500,000.00                           505,834.00             5,834.00
Account No.




                                                                         Value $
                                                                                                                            Subtotal
 0
_____ continuation sheets attached                                                                                                              534,846.00           10,609.00
                                                                                                                   (Total of this page)
                                                                                                                             Total              534,846.00           10,609.00
                                                                                                   (Report on Summary of Schedules)

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                 Case 10-60990-wlh                          Doc 1           Filed 01/12/10 Entered 01/12/10 18:09:05                             Desc Main           1/12/10 6:05PM
                                                                            Document Page 24 of 55
B6E (Official Form 6E) (12/07)


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  In re          Bobby Manalcus Wilbanks,                                                                                 Case No.
                 Kimberly Ann Wilbanks
                                                                                                              ,
                                                                                           Debtors
                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                0   continuation sheets attached
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                  Case 10-60990-wlh                          Doc 1           Filed 01/12/10 Entered 01/12/10 18:09:05                            Desc Main           1/12/10 6:05PM
                                                                             Document Page 25 of 55
 B6F (Official Form 6F) (12/07)


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   In re          Bobby Manalcus Wilbanks,                                                                                    Case No.
                  Kimberly Ann Wilbanks
                                                                                                                          ,
                                                                                                        Debtors

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,                                            E               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                     W
                 AND ACCOUNT NUMBER
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                                                                                                                                                         AMOUNT OF CLAIM
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                                                                                 O               IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R
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Account No. 0420                                                                         Opened 9/01/01 Last Active 8/17/09                  T   T
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                                                                                         CreditCard                                              D

Bank Of America
4060 Ogletown/Stan                                                                   J
Newark, DE 19713

                                                                                                                                                                      11,334.00
Account No. xxxxxx8896                                                                   Opened 9/01/06 Last Active 1/13/09
                                                                                         CreditCard
Barclays Bank Delaware
Attention: Customer Support                                                          J
Department
Po Box 8833
Wilmington, DE 19899                                                                                                                                                    6,053.00
Account No. xxxxxxxxxx-0001                                                              Business Loan

BB&T Business Loans
PO Box 580050                                                                        H                                                               X
Charlotte, NC 28258-0050

                                                                                                                                                                    167,880.06
Account No. xxxxxxxxxxxx3663                                                             Opened 7/01/09 Last Active 9/21/09
                                                                                         ChargeAccount
Citibank Usa
Attn.: Centralized Bankruptcy                                                        J
Po Box 20507
Kansas City, MO 64195
                                                                                                                                                                        3,351.00

                                                                                                                                           Subtotal
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_____ continuation sheets attached                                                                                                                                  188,618.06
                                                                                                                                 (Total of this page)




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                  Case 10-60990-wlh                          Doc 1           Filed 01/12/10 Entered 01/12/10 18:09:05                                   Desc Main        1/12/10 6:05PM
                                                                             Document Page 26 of 55
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Bobby Manalcus Wilbanks,                                                                                          Case No.
                  Kimberly Ann Wilbanks
                                                                                                                           ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                             C   U   D
                    CREDITOR'S NAME,                                             O                                                                  O   N   I
                    MAILING ADDRESS                                              D   H                                                              N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                                 B                                                                  I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                   (See instructions above.)                                     R                                                                  E   D   D
                                                                                                                                                    N   A
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Account No.                                                                                                                                             E
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Quest Diagostics
PO box 41652                                                                         J
Philadelphia, PA 19101-1652

                                                                                                                                                                                56.00
Account No. x0600                                                                        12/13/2006
                                                                                         Communications service
Verint Video Solutions, Inc
PO Box 905595                                                                        J
Charlotte, NC 28290-5590

                                                                                                                                                                            6,228.32
Account No. Wachovia Bank - Diversified Co                                               4/12/2008
                                                                                         Promissory note
Wachovia Bank
c/o Smith, Gambrell & Russell                                                        H                                                                      X
1230 Peachtree Ste NE, Ste 310
Atlanta, GA 30309-3592
                                                                                                                                                                        254,893.10
Account No.                                                                              Promissory Note

Wachovia Bank
c/o Smith, Gambrell & Russell                                                        J
1230 Peachtree Ste NE, Ste 310
Atlanta, GA 30309-3592
                                                                                                                                                                        180,564.73
Account No.




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Sheet no. _____     1
                of _____ sheets attached to Schedule of                                                                                           Subtotal
                                                                                                                                                                        441,742.15
Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page)
                                                                                                                                                    Total
                                                                                                                          (Report on Summary of Schedules)              630,360.21


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                    Case 10-60990-wlh                       Doc 1           Filed 01/12/10 Entered 01/12/10 18:09:05                   Desc Main         1/12/10 6:05PM
                                                                            Document Page 27 of 55
B6G (Official Form 6G) (12/07)


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  In re             Bobby Manalcus Wilbanks,                                                                       Case No.
                    Kimberly Ann Wilbanks
                                                                                                        ,
                                                                                        Debtors
                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                         Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                              State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                    State contract number of any government contract.




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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                 Case 10-60990-wlh                          Doc 1           Filed 01/12/10 Entered 01/12/10 18:09:05          Desc Main        1/12/10 6:05PM
                                                                            Document Page 28 of 55
B6H (Official Form 6H) (12/07)


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  In re          Bobby Manalcus Wilbanks,                                                                 Case No.
                 Kimberly Ann Wilbanks
                                                                                                   ,
                                                                                        Debtors
                                                                      SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                             NAME AND ADDRESS OF CREDITOR




       0
               continuation sheets attached to Schedule of Codebtors
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           Case 10-60990-wlh                Doc 1    Filed 01/12/10 Entered 01/12/10 18:09:05                             Desc Main
                                                                                                                                1/12/10 6:05PM

                                                     Document Page 29 of 55
B6I (Official Form 6I) (12/07)

           Bobby Manalcus Wilbanks
 In re     Kimberly Ann Wilbanks                                                                       Case No.
                                                                        Debtor(s)

                          SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                 DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                Son                                                         4
                                             Daughter                                                    8
Employment:                                           DEBTOR                                                      SPOUSE
Occupation                          Security Director
Name of Employer                    Resource Technologies                                   Homemaker
How long employed                   8 months
Address of Employer                 3735 Harrison Road
                                    Loganville, GA 30052
INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                 SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $       5,000.00       $          0.00
2. Estimate monthly overtime                                                                             $       2,314.00       $          0.00

3. SUBTOTAL                                                                                              $        7,314.00      $             0.00


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $        1,100.00      $             0.00
     b. Insurance                                                                                        $            0.00      $             0.00
     c. Union dues                                                                                       $            0.00      $             0.00
     d. Other (Specify):                                                                                 $            0.00      $             0.00
                                                                                                         $            0.00      $             0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $        1,100.00      $             0.00

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $        6,214.00      $             0.00

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $            0.00      $             0.00
8. Income from real property                                                                             $            0.00      $             0.00
9. Interest and dividends                                                                                $            0.00      $             0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $            0.00      $             0.00
11. Social security or government assistance
(Specify):                                                                                               $            0.00      $             0.00
                                                                                                         $            0.00      $             0.00
12. Pension or retirement income                                                                         $            0.00      $             0.00
13. Other monthly income
(Specify):                                                                                               $            0.00      $             0.00
                                                                                                         $            0.00      $             0.00

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $            0.00      $             0.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $        6,214.00      $             0.00

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                         $           6,214.00
                                                                               (Report also on Summary of Schedules and, if applicable, on
                                                                               Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
           Case 10-60990-wlh          Doc 1     Filed 01/12/10 Entered 01/12/10 18:09:05                       Desc Main
                                                                                                                     1/12/10 6:05PM

                                                Document Page 30 of 55
B6J (Official Form 6J) (12/07)

          Bobby Manalcus Wilbanks
 In re    Kimberly Ann Wilbanks                                                             Case No.
                                                                 Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                      $                3,400.00
 a. Are real estate taxes included?                           Yes               No X
 b. Is property insurance included?                           Yes               No X
2. Utilities:      a. Electricity and heating fuel                                                         $                   46.00
                   b. Water and sewer                                                                      $                   67.00
                   c. Telephone                                                                            $                   80.00
                   d. Other See Detailed Expense Attachment                                                $                  302.00
3. Home maintenance (repairs and upkeep)                                                                   $                  100.00
4. Food                                                                                                    $                  400.00
5. Clothing                                                                                                $                  100.00
6. Laundry and dry cleaning                                                                                $                   20.00
7. Medical and dental expenses                                                                             $                  200.00
8. Transportation (not including car payments)                                                             $                  240.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                        $                    0.00
10. Charitable contributions                                                                               $                    0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                              $                  125.00
                   b. Life                                                                                 $                  130.00
                   c. Health                                                                               $                  100.00
                   d. Auto                                                                                 $                    0.00
                   e. Other                                                                                $                    0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify) See Detailed Expense Attachment                                                 $                  690.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                 $                  425.00
                   b. Other                                                                                $                    0.00
                   c. Other                                                                                $                    0.00
14. Alimony, maintenance, and support paid to others                                                       $                    0.00
15. Payments for support of additional dependents not living at your home                                  $                    0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)           $                    0.00
17. Other                                                                                                  $                    0.00
    Other                                                                                                  $                    0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules                        $                6,425.00
and, if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                       $                6,214.00
b. Average monthly expenses from Line 18 above                                                             $                6,425.00
c. Monthly net income (a. minus b.)                                                                        $                 -211.00
           Case 10-60990-wlh        Doc 1   Filed 01/12/10 Entered 01/12/10 18:09:05       Desc Main
                                                                                                 1/12/10 6:05PM

                                            Document Page 31 of 55
B6J (Official Form 6J) (12/07)
          Bobby Manalcus Wilbanks
 In re    Kimberly Ann Wilbanks                                            Case No.
                                                        Debtor(s)

                   SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                            Detailed Expense Attachment
Other Utility Expenditures:
Dish                                                                                   $                  130.00
Verizon Wireless                                                                       $                  130.00
Septic system                                                                          $                   42.00
Total Other Utility Expenditures                                                       $                  302.00


Specific Tax Expenditures:
Property                                                                               $                  383.00
Georgia's Own                                                                          $                  307.00
Total Tax Expenditures                                                                 $                  690.00
             Case 10-60990-wlh                          Doc 1          Filed 01/12/10 Entered 01/12/10 18:09:05                     Desc Main
                                                                                                                                          1/12/10 6:05PM

                                                                       Document Page 32 of 55

B8 (Form 8) (12/08)
                                                                  United States Bankruptcy Court
                                                                          Northern District of Georgia
             Bobby Manalcus Wilbanks
  In re      Kimberly Ann Wilbanks                                                                                 Case No.
                                                                                           Debtor(s)               Chapter     7


                                  CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                                                           Describe Property Securing Debt:
 Georgias Own Cu                                                                            2002 Sandpiper 38 foot pull-behind travel trailer

 Property will be (check one):
        Surrendered                                                             Retained

 If retaining the property, I intend to (check at least one):
         Redeem the property
         Reaffirm the debt
         Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                      Not claimed as exempt

 Property No. 2

 Creditor's Name:                                                                           Describe Property Securing Debt:
 Georgias Own Cu                                                                            2005 Ford Expedition XLJ
                                                                                            Mileage: 83000 miles in good condition with dents on the
                                                                                            right side

 Property will be (check one):
        Surrendered                                                             Retained

 If retaining the property, I intend to (check at least one):
         Redeem the property
         Reaffirm the debt
         Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                      Not claimed as exempt




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             Case 10-60990-wlh                          Doc 1          Filed 01/12/10 Entered 01/12/10 18:09:05                     Desc Main
                                                                                                                                          1/12/10 6:05PM

                                                                       Document Page 33 of 55

B8 (Form 8) (12/08)                                                                                                                                 Page 2
 Property No. 3

 Creditor's Name:                                                                           Describe Property Securing Debt:
 Wffinancial                                                                                943 Lake Stone Lea Drive
                                                                                            Oxford, Ga
                                                                                            5000 sq ft single family residence

 Property will be (check one):
        Surrendered                                                             Retained

 If retaining the property, I intend to (check at least one):
         Redeem the property
         Reaffirm the debt
         Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                     Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                                   Describe Leased Property:                      Lease will be Assumed pursuant to 11
 -NONE-                                                                                                          U.S.C. § 365(p)(2):
                                                                                                                    YES              NO


I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt
and/or personal property subject to an unexpired lease.


 Date January 12, 2010                                                         Signature   /s/ Bobby Manalcus Wilbanks
                                                                                           Bobby Manalcus Wilbanks
                                                                                           Debtor


 Date January 12, 2010                                                         Signature   /s/ Kimberly Ann Wilbanks
                                                                                           Kimberly Ann Wilbanks
                                                                                           Joint Debtor




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              Case 10-60990-wlh                         Doc 1          Filed 01/12/10 Entered 01/12/10 18:09:05                       Desc Main
                                                                                                                                            1/12/10 6:05PM

                                                                       Document Page 34 of 55

                                                                  United States Bankruptcy Court
                                                                          Northern District of Georgia
              Bobby Manalcus Wilbanks
  In re       Kimberly Ann Wilbanks                                                                                 Case No.
                                                                                            Debtor(s)               Chapter    7


                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                       $                  1,051.00
              Prior to the filing of this statement I have received                                             $                  1,051.00
              Balance Due                                                                                       $                     0.00

2.     $     299.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:
                   Debtor                   Other (specify):

4.     The source of compensation to be paid to me is:
                   Debtor                   Other (specify):

5.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
             firm.

             I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.        In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.    [Other provisions as needed]
                  Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                  reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                  522(f)(2)(A) for avoidance of liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                                       CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       January 12, 2010                                                              /s/ Karen Scott Greene
                                                                                            Karen Scott Greene 632153
                                                                                            Karen Scott Greene, P.C.
                                                                                            PO Box 390322
                                                                                            Snellville, GA 30039
                                                                                            770-761-4704 Fax: 678-530-1059
                                                                                            karen@attykarengreene.com




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                 Case 10-60990-wlh                          Doc 1           Filed 01/12/10 Entered 01/12/10 18:09:05                    Desc Main    1/12/10 6:05PM
                                                                            Document Page 35 of 55
B6 Summary (Official Form 6 - Summary) (12/07)


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                                                                  United States Bankruptcy Court
                                                                           Northern District of Georgia
  In re          Bobby Manalcus Wilbanks,                                                                             Case No.
                 Kimberly Ann Wilbanks
                                                                                                                ,
                                                                                               Debtors                Chapter                  7




                                                                       SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                             ATTACHED                NO. OF          ASSETS                LIABILITIES            OTHER
                                                            (YES/NO)               SHEETS

A - Real Property                                                 Yes                 1                  500,000.00


B - Personal Property                                             Yes                 3                   45,378.00


C - Property Claimed as Exempt                                    Yes                 1


D - Creditors Holding Secured Claims                              Yes                 1                                         534,846.00


E - Creditors Holding Unsecured                                   Yes                 1                                               0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                   Yes                 2                                         630,360.21
    Nonpriority Claims

G - Executory Contracts and                                       Yes                 1
   Unexpired Leases

H - Codebtors                                                     Yes                 1


I - Current Income of Individual                                  Yes                 1                                                                 6,214.00
    Debtor(s)

J - Current Expenditures of Individual                            Yes                 2                                                                 6,425.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                            14


                                                                                Total Assets             545,378.00


                                                                                                 Total Liabilities          1,165,206.21




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                  Case 10-60990-wlh                         Doc 1           Filed 01/12/10 Entered 01/12/10 18:09:05               Desc Main      1/12/10 6:05PM
                                                                            Document Page 36 of 55
Form 6 - Statistical Summary (12/07)


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                                                                  United States Bankruptcy Court
                                                                           Northern District of Georgia
  In re           Bobby Manalcus Wilbanks,                                                                              Case No.
                  Kimberly Ann Wilbanks
                                                                                                             ,
                                                                                          Debtors                       Chapter             7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                     Amount

              Domestic Support Obligations (from Schedule E)                                                         0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                                     0.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                     0.00

              Student Loan Obligations (from Schedule F)                                                             0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                     0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                     0.00

                                                                                 TOTAL                               0.00


              State the following:

              Average Income (from Schedule I, Line 16)                                                          6,214.00

              Average Expenses (from Schedule J, Line 18)                                                        6,425.00

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                           6,535.78


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                    10,609.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                     0.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                          0.00

              4. Total from Schedule F                                                                                             630,360.21

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                         640,969.21




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              Case 10-60990-wlh                          Doc 1          Filed 01/12/10 Entered 01/12/10 18:09:05                  Desc Main
                                                                                                                                        1/12/10 6:05PM

                                                                        Document Page 37 of 55
B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                                   United States Bankruptcy Court
                                                                           Northern District of Georgia
             Bobby Manalcus Wilbanks
  In re      Kimberly Ann Wilbanks                                                                                 Case No.
                                                                                             Debtor(s)             Chapter    7




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                     DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                          I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                 16      sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date January 12, 2010                                                          Signature    /s/ Bobby Manalcus Wilbanks
                                                                                             Bobby Manalcus Wilbanks
                                                                                             Debtor


 Date January 12, 2010                                                          Signature    /s/ Kimberly Ann Wilbanks
                                                                                             Kimberly Ann Wilbanks
                                                                                             Joint Debtor

   Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                    18 U.S.C. §§ 152 and 3571.




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              Case 10-60990-wlh                          Doc 1          Filed 01/12/10 Entered 01/12/10 18:09:05             Desc Main
                                                                                                                                   1/12/10 6:05PM

                                                                        Document Page 38 of 55




                                                                   United States Bankruptcy Court
                                                                           Northern District of Georgia
             Bobby Manalcus Wilbanks
  In re      Kimberly Ann Wilbanks                                                                            Case No.
                                                                                             Debtor(s)        Chapter    7




                                                 VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date: January 12, 2010                                                         /s/ Bobby Manalcus Wilbanks
                                                                                Bobby Manalcus Wilbanks
                                                                                Signature of Debtor

 Date: January 12, 2010                                                         /s/ Kimberly Ann Wilbanks
                                                                                Kimberly Ann Wilbanks
                                                                                Signature of Debtor




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             Case 10-60990-wlh                          Doc 1          Filed 01/12/10 Entered 01/12/10 18:09:05   Desc Main
                                                                                                                        1/12/10 6:05PM

                                                                       Document Page 39 of 55
B 201A (Form 201A) (12/09)

         WARNING: Effective December 1, 2009, the 15-day deadline to file schedules and certain other documents under
            Bankruptcy Rule 1007(c) is shortened to 14 days. For further information, see note at bottom of page 2
                                                        UNITED STATES BANKRUPTCY COURT
                                                         NORTHERN DISTRICT OF GEORGIA
                                           NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                    OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney
General may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure
that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any
changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each
spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each
notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that
each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
         With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit
counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days before the
bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by telephone or on the
Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the United States trustee or
bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit
counseling agencies. Each debtor in a joint case must complete the briefing.

         In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

             Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
whose debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted
to proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some
cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that
the court dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does,
the purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful
and malicious injury, the bankruptcy court may determine that the debt is not discharged.

             Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $39
             administrative fee: Total fee $274)

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             Case 10-60990-wlh                          Doc 1          Filed 01/12/10 Entered 01/12/10 18:09:05   Desc Main
                                                                                                                        1/12/10 6:05PM

                                                                       Document Page 40 of 55
Form B 201A, Notice to Consumer Debtor(s)                                                                                        Page 2

          Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments
over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code.
          Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon
your income and other factors. The court must approve your plan before it can take effect.
          After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured
obligations.

             Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

             Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future
earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises
primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the
United States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.

Many filing deadlines change on December 1, 2009. Of special note, 12 rules that set 15 days to act are amended to require
action within 14 days, including Rule 1007(c), filing the initial case papers; Rule 3015(b), filing a chapter 13 plan; Rule
8009(a), filing appellate briefs; and Rules 1019, 1020, 2015, 2015.1, 2016, 4001, 4002, 6004, and 6007.




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             Case 10-60990-wlh                          Doc 1          Filed 01/12/10 Entered 01/12/10 18:09:05                      Desc Main
                                                                                                                                           1/12/10 6:05PM

                                                                       Document Page 41 of 55


B 201B (Form 201B) (12/09)
                                                                  United States Bankruptcy Court
                                                                          Northern District of Georgia
             Bobby Manalcus Wilbanks
  In re      Kimberly Ann Wilbanks                                                                                Case No.
                                                                                        Debtor(s)                 Chapter        7


                                      CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                          UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                              Certification of Debtor
       I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the
Bankruptcy Code.
 Bobby Manalcus Wilbanks
 Kimberly Ann Wilbanks                                                                    X /s/ Bobby Manalcus Wilbanks               January 12, 2010
 Printed Name(s) of Debtor(s)                                                               Signature of Debtor                       Date

 Case No. (if known)                                                                      X /s/ Kimberly Ann Wilbanks                 January 12, 2010
                                                                                            Signature of Joint Debtor (if any)        Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given
the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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             Case 10-60990-wlh                          Doc 1          Filed 01/12/10 Entered 01/12/10 18:09:05                         Desc Main
                                                                                                                                              1/12/10 6:05PM

                                                                       Document Page 42 of 55
  B22A (Official Form 22A) (Chapter 7) (12/08)
        Bobby Manalcus Wilbanks
 In re  Kimberly Ann Wilbanks                                                          According to the information required to be entered on this statement
                          Debtor(s)                                                      (check one box as directed in Part I, III, or VI of this statement):
 Case Number:                                                                                   The presumption arises.
                     (If known)
                                                                                                The presumption does not arise.
                                                                                                The presumption is temporarily inapplicable.


                                  CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                             AND MEANS-TEST CALCULATION
In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor, whether or not filing jointly. Unless the
exclusion in Line 1C applies, joint debtors may complete a single statement. If the exclusion in Line 1C applies, each joint filer must complete a
separate statement.

                                                  Part I. MILITARY AND NON-CONSUMER DEBTORS
              Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the beginning of the
              Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3) complete the verification in
              Part VIII. Do not complete any of the remaining parts of this statement.
    1A
                 Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as defined
              in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as defined in 10 U.S.C.
              § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).
              Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the verification in Part
    1B        VIII. Do not complete any of the remaining parts of this statement.
                 Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.
              Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component of the
              Armed Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C. § 101(d)(1)) after
              September 11, 2001, for a period of at least 90 days, or who have performed homeland defense activity (as defined in 32 U.S.C. §
              901(1)) for a period of at least 90 days, are excluded from all forms of means testing during the time of active duty or homeland defense
              activity and for 540 days thereafter (the "exclusion period"). If you qualify for this temporary exclusion, (1) check the appropriate boxes
              and complete any required information in the Declaration of Reservists and National Guard Members below, (2) check the box for "The
              presumption is temporarily inapplicable" at the top of this statement, and (3) complete the verification in Part VIII. During your
              exclusion period you are not required to complete the balance of this form, but you must complete the form no later than 14
              days after the date on which your exclusion period ends, unless the time for filing a motion raising the means test presumption
              expires in your case before your exclusion period ends.
                 Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries below, I
    1C        declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve component of the Armed
              Forces or the National Guard

                                        a.       I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                                        I remain on active duty /or/
                                                        I was released from active duty on        , which is less than 540 days before this bankruptcy case was
                                        filed;

                                                     OR

                                        b.      I am performing homeland defense activity for a period of at least 90 days /or/
                                               I performed homeland defense activity for a period of at least 90 days, terminating on        , which is less than
                                             540 days before this bankruptcy case was filed.




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             Case 10-60990-wlh                          Doc 1          Filed 01/12/10 Entered 01/12/10 18:09:05             Desc Main
                                                                                                                                  1/12/10 6:05PM

                                                                       Document Page 43 of 55
  B22A (Official Form 22A) (Chapter 7) (12/08)                                                                                                         2

                         Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
              Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
              a.     Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
              b.     Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under penalty of
                   perjury: "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are living apart other than
     2             for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code." Complete only column A ("Debtor's
                   Income") for Lines 3-11.
              c.     Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both Column A
                   ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
              d.     Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
              All figures must reflect average monthly income received from all sources, derived during the            Column A          Column B
              six calendar months prior to filing the bankruptcy case, ending on the last day of the month
              before the filing. If the amount of monthly income varied during the six months, you must                 Debtor's          Spouse's
              divide the six-month total by six, and enter the result on the appropriate line.                          Income            Income

     3        Gross wages, salary, tips, bonuses, overtime, commissions.                                        $       6,535.78 $                0.00
              Income from the operation of a business, profession or farm. Subtract Line b from Line a
              and enter the difference in the appropriate column(s) of Line 4. If you operate more than one
              business, profession or farm, enter aggregate numbers and provide details on an attachment. Do
              not enter a number less than zero. Do not include any part of the business expenses entered
     4        on Line b as a deduction in Part V.
                                                                         Debtor                Spouse
               a.    Gross receipts                              $                0.00 $                 0.00
               b.    Ordinary and necessary business expenses $                   0.00 $                 0.00
               c.    Business income                             Subtract Line b from Line a                    $           0.00 $                0.00
              Rents and other real property income. Subtract Line b from Line a and enter the difference
              in the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include
              any part of the operating expenses entered on Line b as a deduction in Part V.
                                                                        Debtor                Spouse
     5
               a.     Gross receipts                             $               0.00 $                0.00
               b.     Ordinary and necessary operating           $               0.00 $                0.00
                      expenses
               c.     Rent and other real property income        Subtract Line b from Line a                    $           0.00 $                0.00
     6        Interest, dividends, and royalties.                                                               $           0.00 $                0.00
     7        Pension and retirement income.                                                                    $           0.00 $                0.00
              Any amounts paid by another person or entity, on a regular basis, for the household
     8        expenses of the debtor or the debtor's dependents, including child support paid for that
              purpose. Do not include alimony or separate maintenance payments or amounts paid by your
              spouse if Column B is completed.                                                               $              0.00 $                0.00
              Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
              However, if you contend that unemployment compensation received by you or your spouse was a
              benefit under the Social Security Act, do not list the amount of such compensation in Column A
     9        or B, but instead state the amount in the space below:
               Unemployment compensation claimed to
               be a benefit under the Social Security
               Act                                    Debtor $                         0.00 Spouse $    0.00    $           0.00 $                0.00
              Income from all other sources. Specify source and amount. If necessary, list additional
              sources on a separate page. Do not include alimony or separate maintenance payments paid
              by your spouse if Column B is completed, but include all other payments of alimony or
              separate maintenance. Do not include any benefits received under the Social Security Act or
              payments received as a victim of a war crime, crime against humanity, or as a victim of
    10        international or domestic terrorism.
                                                                       Debtor                  Spouse
               a.                                               $                      $
               b.                                               $                      $
              Total and enter on Line 10                                                                        $           0.00 $                0.00
    11        Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A, and,
              if Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).                 $       6,535.78 $                0.00

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             Case 10-60990-wlh                          Doc 1          Filed 01/12/10 Entered 01/12/10 18:09:05                    Desc Main
                                                                                                                                         1/12/10 6:05PM

                                                                       Document Page 44 of 55
  B22A (Official Form 22A) (Chapter 7) (12/08)                                                                                                               3

              Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add Line
    12        11, Column A to Line 11, Column B, and enter the total. If Column B has not been completed,
              enter the amount from Line 11, Column A.                                                                     $                     6,535.78

                                                  Part III. APPLICATION OF § 707(b)(7) EXCLUSION
    13        Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number 12
              and enter the result.                                                                                                    $        78,429.36
              Applicable median family income. Enter the median family income for the applicable state and household size.
    14        (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
               a. Enter debtor's state of residence:                       GA          b. Enter debtor's household size:       4       $        68,502.00
              Application of Section 707(b)(7). Check the applicable box and proceed as directed.
                The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for "The presumption does not arise" at
    15
                the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
                The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.
                                      Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)

                           Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
    16        Enter the amount from Line 12.                                                                                           $          6,535.78
              Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in Line
              11, Column B that was NOT paid on a regular basis for the household expenses of the debtor or the debtor's
              dependents. Specify in the lines below the basis for excluding the Column B income (such as payment of the
              spouse's tax liability or the spouse's support of persons other than the debtor or the debtor's dependents) and the
              amount of income devoted to each purpose. If necessary, list additional adjustments on a separate page. If you did
    17        not check box at Line 2.c, enter zero.
               a.                                                                          $
               b.                                                                          $
               c.                                                                          $
               d.                                                                          $
              Total and enter on Line 17                                                                                          $                     0.00
    18        Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                              $          6,535.78

                                           Part V. CALCULATION OF DEDUCTIONS FROM INCOME
                                    Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
              National Standards: food, clothing and other items. Enter in Line 19A the "Total" amount from IRS National
   19A        Standards for Food, Clothing and Other Items for the applicable household size. (This information is available at
              www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                                     $                1,370.00
              National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
              Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
              Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
              www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the number of members of your
              household who are under 65 years of age, and enter in Line b2 the number of members of your household who are
              65 years of age or older. (The total number of household members must be the same as the number stated in Line
   19B        14b.) Multiply Line a1 by Line b1 to obtain a total amount for household members under 65, and enter the result
              in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for household members 65 and older, and enter
              the result in Line c2. Add Lines c1 and c2 to obtain a total health care amount, and enter the result in Line 19B.
                   Household members under 65 years of age                 Household members 65 years of age or older
               a1.    Allowance per member                         60 a2.        Allowance per member                      144
               b1.    Number of members                             4 b2.        Number of members                           0
               c1.    Subtotal                                240.00 c2.         Subtotal                                 0.00   $                  240.00
              Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
   20A        Utilities Standards; non-mortgage expenses for the applicable county and household size. (This information is
              available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).                                              $            499.00




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             Case 10-60990-wlh                          Doc 1          Filed 01/12/10 Entered 01/12/10 18:09:05                Desc Main
                                                                                                                                     1/12/10 6:05PM

                                                                       Document Page 45 of 55
  B22A (Official Form 22A) (Chapter 7) (12/08)                                                                                                             4

              Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the IRS
              Housing and Utilities Standards; mortgage/rent expense for your county and household size (this information is
              available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the total of the
              Average Monthly Payments for any debts secured by your home, as stated in Line 42; subtract Line b from Line a
   20B        and enter the result in Line 20B. Do not enter an amount less than zero.
               a.    IRS Housing and Utilities Standards; mortgage/rental expense $                                       994.00
               b.    Average Monthly Payment for any debts secured by your
                     home, if any, as stated in Line 42                             $                                   3,400.00
               c.    Net mortgage/rental expense                                    Subtract Line b from Line a.                 $                    0.00
              Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A and
              20B does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities
    21        Standards, enter any additional amount to which you contend you are entitled, and state the basis for your
              contention in the space below:
                                                                                                                                     $                0.00
              Local Standards: transportation; vehicle operation/public transportation expense.
              You are entitled to an expense allowance in this category regardless of whether you pay the expenses of operating
              a vehicle and regardless of whether you use public transportation.
              Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are
              included as a contribution to your household expenses in Line 8.
   22A
                  0        1        2 or more.
              If you checked 0, enter on Line 22A the "Public Transportation" amount from IRS Local Standards:
              Transportation. If you checked 1 or 2 or more, enter on Line 22A the "Operating Costs" amount from IRS Local
              Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan Statistical Area or
              Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)      $                226.00
              Local Standards: transportation; additional public transportation expense. If you pay the operating
              expenses for a vehicle and also use public transportation, and you contend that you are entitled to an additional
   22B        deduction for you public transportation expenses, enter on Line 22B the "Public Transportation" amount from IRS
              Local Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from the clerk of the
              bankruptcy court.)                                                                                                $                     0.00
              Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for which
              you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than two
              vehicles.)
                  1        2 or more.
              Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
    23        (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
              Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from Line a
              and enter the result in Line 23. Do not enter an amount less than zero.
               a.    IRS Transportation Standards, Ownership Costs                 $                                      489.00
                     Average Monthly Payment for any debts secured by Vehicle
               b.    1, as stated in Line 42                                       $                                      425.00
               c.    Net ownership/lease expense for Vehicle 1                     Subtract Line b from Line a.                      $              64.00
              Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you checked
              the "2 or more" Box in Line 23.
              Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
              (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
    24        Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from Line a
              and enter the result in Line 24. Do not enter an amount less than zero.
               a.    IRS Transportation Standards, Ownership Costs                 $                                        0.00
                     Average Monthly Payment for any debts secured by Vehicle
               b.    2, as stated in Line 42                                       $                                        0.00
               c.    Net ownership/lease expense for Vehicle 2                     Subtract Line b from Line a.                  $                    0.00
              Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
    25        federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes,
              social security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                  $          1,242.00
              Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly payroll
    26        deductions that are required for your employment, such as retirement contributions, union dues, and uniform
              costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.                                   $                0.00

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             Case 10-60990-wlh                          Doc 1          Filed 01/12/10 Entered 01/12/10 18:09:05               Desc Main
                                                                                                                                    1/12/10 6:05PM

                                                                       Document Page 46 of 55
  B22A (Official Form 22A) (Chapter 7) (12/08)                                                                                                            5

              Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for
    27        term life insurance for yourself. Do not include premiums for insurance on your dependents, for whole life
              or for any other form of insurance.                                                                                  $             130.00
              Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required to
    28        pay pursuant to the order of a court or administrative agency, such as spousal or child support payments. Do not
              include payments on past due obligations included in Line 44.                                                        $                 0.00
              Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
    29        Enter the total average monthly amount that you actually expend for education that is a condition of employment
              and for education that is required for a physically or mentally challenged dependent child for whom no public
              education providing similar services is available.                                                                   $                 0.00

    30        Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
              childcare - such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.        $                 0.00
              Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend on
    31        health care that is required for the health and welfare of yourself or your dependents, that is not reimbursed by
              insurance or paid by a health savings account, and that is in excess of the amount entered in Line 19B. Do not
              include payments for health insurance or health savings accounts listed in Line 34.                                  $                 0.00
              Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
    32        actually pay for telecommunication services other than your basic home telephone and cell phone service - such as
              pagers, call waiting, caller id, special long distance, or internet service - to the extent necessary for your health
              and welfare or that of your dependents. Do not include any amount previously deducted.                                $            100.00
    33        Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                                  $           3,871.00

                                                Subpart B: Additional Living Expense Deductions
                                        Note: Do not include any expenses that you have listed in Lines 19-32
              Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly expenses
              in the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or your
              dependents.
    34
               a.         Health Insurance                                             $                0.00
               b.         Disability Insurance                                         $                0.00
               c.         Health Savings Account                                       $                0.00                       $                 0.00
              Total and enter on Line 34.
              If you do not actually expend this total amount, state your actual total average monthly expenditures in the
              space below:
              $
              Continued contributions to the care of household or family members. Enter the total average actual monthly
    35        expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically
              ill, or disabled member of your household or member of your immediate family who is unable to pay for such
              expenses.                                                                                                           $                  0.00
              Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
    36        actually incurred to maintain the safety of your family under the Family Violence Prevention and Services Act or
              other applicable federal law. The nature of these expenses is required to be kept confidential by the court.         $                 0.00
              Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS Local
    37        Standards for Housing and Utilities, that you actually expend for home energy costs. You must provide your
              case trustee with documentation of your actual expenses, and you must demonstrate that the additional
              amount claimed is reasonable and necessary.                                                                          $                 0.00
              Education expenses for dependent children less than 18. Enter the total average monthly expenses that you
              actually incur, not to exceed $137.50 per child, for attendance at a private or public elementary or secondary
    38        school by your dependent children less than 18 years of age. You must provide your case trustee with
              documentation of your actual expenses, and you must explain why the amount claimed is reasonable and
              necessary and not already accounted for in the IRS Standards.                                                        $                 0.00




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             Case 10-60990-wlh                          Doc 1          Filed 01/12/10 Entered 01/12/10 18:09:05                  Desc Main
                                                                                                                                       1/12/10 6:05PM

                                                                       Document Page 47 of 55
  B22A (Official Form 22A) (Chapter 7) (12/08)                                                                                                             6

              Additional food and clothing expense. Enter the total average monthly amount by which your food and clothing
              expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS National
    39        Standards, not to exceed 5% of those combined allowances. (This information is available at www.usdoj.gov/ust/
              or from the clerk of the bankruptcy court.) You must demonstrate that the additional amount claimed is
              reasonable and necessary.                                                                                      $                        0.00

    40        Continued charitable contributions. Enter the amount that you will continue to contribute in the form of cash
              or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                         $                0.00
    41        Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40                             $                0.00

                                                               Subpart C: Deductions for Debt Payment
              Future payments on secured claims. For each of your debts that is secured by an interest in property that you
              own, list the name of the creditor, identify the property securing the debt, and state the Average Monthly
    42        Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is the total
              of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the filing of
              the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter the total of the
              Average Monthly Payments on Line 42.
                     Name of Creditor                  Property Securing the Debt              Average Monthly Does payment
                                                                                                        Payment include taxes
                                                                                                                  or insurance?
                                                       2002 Sandpiper 38 foot
                 a. Georgias Own Cu                    pull-behind travel trailer            $           175.00      yes no

                                                                  2005 Ford Expedition XLJ
                                                                  Mileage: 83000 miles in good
                                                                  condition with dents on the
                 b. Georgias Own Cu                               right side                   $           425.00     yes   no

                                                                  943 Lake Stone Lea Drive
                                                                  Oxford, Ga
                                                                  5000 sq ft single family
                 c. Wffinancial                                   residence                    $         3,400.00     yes   no
                                                                                                   Total: Add Lines                  $          4,000.00
              Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary residence, a
              motor vehicle, or other property necessary for your support or the support of your dependents, you may include in
    43        your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor in addition to the
              payments listed in Line 42, in order to maintain possession of the property. The cure amount would include any
              sums in default that must be paid in order to avoid repossession or foreclosure. List and total any such amounts in
              the following chart. If necessary, list additional entries on a separate page.
                     Name of Creditor                   Property Securing the Debt                  1/60th of the Cure Amount
                a. -NONE-                                                                      $
                                                                                                               Total: Add Lines   $                   0.00
              Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such as
    44        priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy filing.
              Do not include current obligations, such as those set out in Line 28.                                                  $                0.00
              Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete the following
              chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative expense.

               a.        Projected average monthly Chapter 13 plan payment.                  $                             0.00
    45         b.        Current multiplier for your district as determined under schedules
                         issued by the Executive Office for United States Trustees. (This
                         information is available at www.usdoj.gov/ust/ or from the clerk of
                         the bankruptcy court.)                                              x                             5.00
               c.        Average monthly administrative expense of Chapter 13 case           Total: Multiply Lines a and b           $                0.00
    46        Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                             $          4,000.00

                                                              Subpart D: Total Deductions from Income
    47        Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                            $          7,871.00

                                            Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION


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             Case 10-60990-wlh                          Doc 1          Filed 01/12/10 Entered 01/12/10 18:09:05                              Desc Main
                                                                                                                                                   1/12/10 6:05PM

                                                                       Document Page 48 of 55
  B22A (Official Form 22A) (Chapter 7) (12/08)                                                                                                                          7

    48        Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                             $           6,535.78
    49        Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                                  $           7,871.00
    50        Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.                                   $          -1,335.22

    51        60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and enter
              the result.                                                                                                                        $        -80,113.20
              Initial presumption determination. Check the applicable box and proceed as directed.
                 The amount on Line 51 is less than $6,575. Check the box for "The presumption does not arise" at the top of page 1 of this
    52        statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
                 The amount set forth on Line 51 is more than $10,950 Check the box for "The presumption arises" at the top of page 1 of this
              statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.
                    The amount on Line 51 is at least $6,575, but not more than $10,950. Complete the remainder of Part VI (Lines 53 through 55).
    53        Enter the amount of your total non-priority unsecured debt                                                                         $
    54        Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.                             $
              Secondary presumption determination. Check the applicable box and proceed as directed.
                 The amount on Line 51 is less than the amount on Line 54. Check the box for "The presumption does not arise" at the top of
    55        page 1 of this statement, and complete the verification in Part VIII.
                 The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for "The presumption arises" at the
              top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.


                                                          Part VII. ADDITIONAL EXPENSE CLAIMS
    56        Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare
              of you and your family and that you contend should be an additional deduction from your current monthly income under §
              707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for
              each item. Total the expenses.

                       Expense Description                                                                                       Monthly Amount
               a.                                                                                               $
               b.                                                                                               $
               c.                                                                                               $
               d.                                                                                               $
                                                                         Total: Add Lines a, b, c, and d        $
                                                                         Part VIII. VERIFICATION
              I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both
              debtors must sign.)
                            Date: January 12, 2010                                      Signature: /s/ Bobby Manalcus Wilbanks
                                                                                                      Bobby Manalcus Wilbanks
    57                                                                                                           (Debtor)

                                 Date:      January 12, 2010                                        Signature       /s/ Kimberly Ann Wilbanks
                                                                                                                     Kimberly Ann Wilbanks
                                                                                                                             (Joint Debtor, if any)




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    Case 10-60990-wlh   Doc 1   Filed 01/12/10 Entered 01/12/10 18:09:05   Desc Main
                                Document Page 49 of 55


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                        Bank Of America
                        4060 Ogletown/Stan
                        Newark, DE 19713



                        Barclays Bank Delaware
                        Attention: Customer Support Department
                        Po Box 8833
                        Wilmington, DE 19899



                        BB&T Business Loans
                        PO Box 580050
                        Charlotte, NC 28258-0050



                        Citibank Usa
                        Attn.: Centralized Bankruptcy
                        Po Box 20507
                        Kansas City, MO 64195



                        Georgias Own Cu
                        1155 Peachtree St Ne Ste
                        Atlanta, GA 30309



                        Quest Diagostics
                        PO box 41652
                        Philadelphia, PA 19101-1652



                        Verint Video Solutions, Inc
                        PO Box 905595
                        Charlotte, NC 28290-5590



                        Wachovia Bank
                        c/o Smith, Gambrell & Russell
                        1230 Peachtree Ste NE, Ste 310
                        Atlanta, GA 30309-3592



                        Wffinancial
                        7201 Turner Lake Rd Nw
                        Covington, GA 30014
              Case 10-60990-wlh                          Doc 1          Filed 01/12/10 Entered 01/12/10 18:09:05                  Desc Main
                                                                                                                                        1/12/10 6:05PM

                                                                        Document Page 50 of 55

                                                                   United States Bankruptcy Court
                                                                           Northern District of Georgia
             Bobby Manalcus Wilbanks
  In re      Kimberly Ann Wilbanks                                                                                 Case No.
                                                                                             Debtor(s)             Chapter    7


                                                             PAYMENT ADVICES COVER SHEET
                                                             UNDER 11 U.S.C. § 521(a)(1)(B)(iv)

             I, Bobby Manalcus Wilbanks , declare under penalty of perjury that the foregoing is true and correct (CHECK ONE OF
             THESE BOXES):

             I have not been employed by any employer within the 60 days before the date of the filing of the petition.

             I was employed by an employer within 60 days before the date I filed my bankruptcy petition, but I have not received
             payment advices or other evidence of payment because

             I have received payment advices or other evidence of payment within 60 days before the date I filed my bankruptcy petition
             from any employer, and they are attached.



             I, Kimberly Ann Wilbanks , declare under penalty of perjury that the foregoing is true and correct (CHECK ONE OF
             THESE BOXES):

             I have not been employed by any employer within the 60 days before the date of the filing of the petition.

             I was employed by an employer within 60 days before the date I filed my bankruptcy petition, but I have not received
             payment advices or other evidence of payment because

             I have received payment advices or other evidence of payment within 60 days before the date I filed my bankruptcy petition
             from any employer, and they are attached.




 Date January 12, 2010                                                          Signature    /s/ Bobby Manalcus Wilbanks
                                                                                             Bobby Manalcus Wilbanks
                                                                                             Debtor


 Date January 12, 2010                                                          Signature    /s/ Kimberly Ann Wilbanks
                                                                                             Kimberly Ann Wilbanks
                                                                                             Joint Debtor




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Case 10-60990-wlh   Doc 1   Filed 01/12/10 Entered 01/12/10 18:09:05   Desc Main
                            Document Page 51 of 55
Case 10-60990-wlh   Doc 1   Filed 01/12/10 Entered 01/12/10 18:09:05   Desc Main
                            Document Page 52 of 55
Case 10-60990-wlh   Doc 1   Filed 01/12/10 Entered 01/12/10 18:09:05   Desc Main
                            Document Page 53 of 55
Case 10-60990-wlh   Doc 1   Filed 01/12/10 Entered 01/12/10 18:09:05   Desc Main
                            Document Page 54 of 55
Case 10-60990-wlh   Doc 1   Filed 01/12/10 Entered 01/12/10 18:09:05   Desc Main
                            Document Page 55 of 55
